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Counsel for Nobuaki Kobayashi, In His Capacities as
the Bankruptcy Trustee and Foreign Representative and
Trustee of the Second Civil Rehabilitation Proceeding
and Proposed Foreign Representative of MtGox Co.,
Ltd., a/k/a/ MtGox KK


                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION


In re:                                           Chapter 15

MtGox Co., Ltd. (a/k/a MtGox KK),                Case No. 14-31229-sgj-15

          Debtor in a Foreign Proceeding.


               CORPORATE OWNERSHIP STATEMENT PURSUANT
             TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 7007.1




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         Nobuaki Kobayashi, in his capacities as the bankruptcy trustee and foreign representative

of MtGox Co., Ltd., a/k/a MtGox KK (the “Debtor”), and as court-appointed trustee and duly-

authorized foreign representative of the Debtor (the “Petitioner”), as a debtor in a civil

rehabilitation proceeding under Japanese law (the “Second Civil Rehabilitation Proceeding”),

currently pending before the Twentieth Civil Division of the Tokyo District Court, Japan (the

“Tokyo Court”), by and through his undersigned U.S. counsel, respectfully submits this

Corporate Ownership Statement pursuant to Rule 7007.1 of the Federal Rules of Bankruptcy

Procedure, and respectfully states as follows:

         1.      Tibanne Co., Ltd. (a/k/a Tibanne KK), a Japanese corporation, owns 88% of the

equity interests in the Debtor.

Dated:        October 25, 2018                       Respectfully submitted,
              Dallas, Texas
                                                     FOLEY & LARDNER LLP

                                                     /s/ Marcus A. Helt
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                                             Capacities as the Bankruptcy Trustee and
                                             Foreign Representative and Trustee of the
                                             Second Civil Rehabilitation Proceeding and
                                             Proposed Foreign Representative of MtGox
                                             Co., Ltd., a/k/a/ MtGox KKCounsel for
                                             Nobuaki Kobayashi, in his capacity
                                             as the Bankruptcy Trustee and Foreign
                                             Representative of MtGox Co., Ltd., a/k/a/
                                             MtGox KK




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